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UNITED STATES DISTRICT COURT                                                                     1/11/21
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
Jenisa Angeles,                                                        :
                                                                       :
                                    Plaintiff,                         :      20-cv-8153 (AJN)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
Scrubs & Beyond, LLC,                                                  :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

ALISON J. NATHAN, United States District Judge:

        As noted in Dkt. No. 5, the parties were to have submitted a joint letter and a proposed
case management plan no later than one week before the initial pretrial conference. As of the
date of this Order, the Court has not received these documents. The parties are hereby
ORDERED to submit the materials described in Dkt. No. 5 by no later than January 12, 2021.
        In the joint letter, the parties should advise the Court if they can do without a
conference altogether. If so, the Court may enter a case management plan and scheduling order
and the parties need not appear. If not, the Court will hold the initial pretrial conference by
telephone. The parties and members of the public may access the proceeding by dialing (888)
363-4749 and entering access code 9196964. In either case, counsel should review and comply
with the Court’s Emergency Individual Rules and Practices in Light of COVID-19, available at
https://www.nysd.uscourts.gov/hon-alison-j-nathan.

        SO ORDERED.

Dated: January 11, 2021                                    __________________________________
       New York, New York                                           ALISON J. NATHAN
                                                                  United States District Judge
